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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MARYLAND

TRUSTEES OF THE HEATING, PIPING    )
AND REFRIGERATION PENSION FUND     )
9411 Philadelphia Road, Suite S    )
Baltimore, MD 21237,               )
                                   )
TRUSTEES OF THE HEATING, PIPING    )
AND REFRIGERATION MEDICAL FUND     )
9411 Philadelphia Road, Suite S    )
Baltimore, MD 21237,               )
                                   )
TRUSTEES OF THE HEATING, PIPING    )
AND REFRIGERATION TRAINING FUND    )
9411 Philadelphia Road, Suite S    )
Baltimore, MD 21237,               )
                                   )
M. EDDIE MOORE SCHOLARSHIP         )
TRUST FUND                         ) COMPLAINT
9411 Philadelphia Road, Suite S    )
Baltimore, MD 21237,               )
                                   )
TRUSTEES OF THE INDUSTRY PROMOTION )
FUND                               )
9411 Philadelphia Road, Suite S    )
Baltimore, MD 21237,               )
                                   )
TRUSTEES OF THE LOCAL 602          )
COMMUNICATIONS AND PRODUCTIVITY    )
FUND                               )
9411 Philadelphia Road, Suite S    )
Baltimore, MD 21237,               )
                                   )
TRUSTEES OF THE STEAMFITTERS       )
LOCAL 602 RETIREMENT SAVINGS FUND  )
9411 Philadelphia Road, Suite S    )
Baltimore, MD 21237,               )
                                   )
TRUSTEES OF THE INTERNATIONAL      )
TRAINING FUND,                     )
103 Oronoco Street                 )
Alexandria, Virginia 22314,        )
                                   )
                                   )
                                   )
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                 and                                )
                                                    )
STEAMFITTERS LOCAL UNION NO. 602                    )
8700 Ashwood Drive, Second Floor                    )
Capitol Heights, Maryland 20743,                    )
                                                    )
                        Plaintiffs,                 )
                                                    )
                   v.                               )
                                                    )
DIANA CONSULTING & SERVICES LLC                     )
       TRADING AS                                   )
SERVICON FACILITIES AND                             )
MECHANICAL SERVICES                                 )
2135 Espey Court                                    )
Suite 15                                            )
Crofton, Maryland 21114                             )
                                                    )
Serve:                                              )
                                                    )
         Anne Wood                                  )
         Registered Agent,                          )
         Diana Consulting & Services LLC            )
         107 Centennial Street                      )
         Suite 100A                                 )
         La Plata, Maryland 20646                   )
                                                    )
                        Defendant.                  )
                                                    )

                                       COMPLAINT

     (TO COLLECT AMOUNTS DUE TO BENEFIT FUNDS, TRUST FUNDS, AND
                          LABOR UNION)

                                           PARTIES

         1.      The Heating, Piping and Refrigeration Pension Fund is a multiemployer employee

benefit plan as those terms are defined in Sections 3(3) and (37) of the Employee Retirement

Income Security Act of 1974 (“ERISA”), 29 U.S.C. §§ 1002(3) and (37). The Pension Fund was

established and is maintained according to the provisions of its Restated Agreement and

Declaration of Trust. The Pension Fund is administered at 9411 Philadelphia Road, Suite S,


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Baltimore, Maryland 21237. The Trustees are the designated fiduciaries as defined in Section

3(21) of ERISA, 29 U.S.C. § 1002(21).

       2.      The Heating, Piping and Refrigeration Medical Fund is a multiemployer employee

benefit plan as those terms are defined in Sections 3(3) and (37) of ERISA, 29 U.S.C. §§ 1002(3)

and (37). The Medical Fund was established and is maintained according to the provisions of its

Restated Agreement and Declaration of Trust.        The Medical Fund is administered at 9411

Philadelphia Road, Suite S, Baltimore, Maryland 21237. The Trustees are the designated

fiduciaries as defined in Section 3(21) of ERISA, 29 U.S.C. § 1002(21).

       3.      The Heating, Piping and Refrigeration Training Fund is a multiemployer

employee benefit plan as those terms are defined in Sections 3(3) and (37) of ERISA, 29 U.S.C.

§§ 1002(3) and (37). The Training Fund was established and is maintained according to the

provisions of its Restated Agreement and Declaration of Trust.            The Training Fund is

administered at 9411 Philadelphia Road, Suite S, Baltimore, Maryland 21237. The Trustees are

the designated fiduciaries as defined in Section 3(21) of ERISA, 29 U.S.C. § 1002(21).

       4.      The Steamfitters Local 602 Retirement Savings Fund is a multiemployer

employee benefit plan as those terms are defined in Sections 3(3) and (37) of ERISA, 29 U.S.C.

§§ 1002(3) and (37). The Retirement Savings Fund was established and is maintained according

to the provisions of its Restated Agreement and Declaration of Trust. The Retirement Savings

Fund is administered at 9411 Philadelphia Road, Suite S, Baltimore, Maryland 21237. The

Trustees are the designated fiduciaries as defined in Section 3(21) of ERISA, 29 U.S.C. §

1002(21).

       5.       The International Training Fund is a multiemployer employee benefit plan as those

terms are defined in Sections 3(3) and 3(37) of ERISA, 29 U.S.C. §§ 1002(3) and (37). The

International Training Fund was established and is maintained according to the provisions of its

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Restated Trust Agreement. The International Training Fund is administered at 103 Oronoco Street,

Alexandria, Virginia 22314. The Trustees are the designated fiduciaries as defined in Section

3(21) of ERISA, 29 U.S.C. § 1002(21).

       6.      The M. Eddie Moore Scholarship Trust Fund is a multiemployer employee benefit

plan as those terms are defined in Sections 3(3) and (37) of ERISA, 29 U.S.C. §§ 1002(3) and

(37). The Scholarship Fund was established and is maintained according to the provisions of its

Restated Agreement and Declaration of Trust. The Scholarship Fund is administered at 9411

Philadelphia Road, Suite S, Baltimore, Maryland 21237. The Trustees are the designated

fiduciaries as defined in Section 3(21) of ERISA, 29 U.S.C. § 1002(21).

       7.      The Industry Promotion Fund is a trust fund established and maintained according

to the provisions of its Trust Document. The Industry Fund is administered by its Trustees at 9411

Philadelphia Road, Suite S, Baltimore, Maryland 21237.

       8.      The Local 602 Communications and Productivity Fund is a labor-management

cooperation committee as provided for in Section 302(c)(9) of the Taft-Hartley Act, 29 U.S.C. §

186(c)(9), and Section 6 of the Labor-Management Cooperation Act of 1978, 29 U.S.C. § 175a.

The Communications Fund is established and maintained according to the provisions of its

Restated Agreement and Declaration of Trust. The Communications Fund is administered by its

Trustees at 9411 Philadelphia Road, Suite S, Baltimore, Maryland 21237.

       9.      Steamfitters Local Union No. 602 is an unincorporated labor organization, as that

term is defined in Section 2(5) of the Labor-Management Relations Act (LMRA), 29 U.S.C.

§ 152(5). Steamfitters Local Union No. 602 maintains an office at 8700 Ashwood Drive, Second

Floor, Capitol Heights, Maryland 20743.




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       10.     Diane Consulting and Services, LLC trading as Servicon Facilities and

Mechanical Services (hereinafter, “Servicon”) is a Maryland business existing under the laws of

the State of Maryland with an office located in Crofton, Maryland.

       11.     Servicon transacts business in the Maryland, Virginia and Washington, D.C.

metropolitan area as a contractor or subcontractor in the pipefitting and steamfitting industry and at

all times herein was an employer in an industry affecting commerce as defined in Sections 3(5), (9),

(11), (12) and (14) of ERISA, 29 U.S.C. §§ 1002(5), (9), (11), (12) and (14); and Section 3 of the

Multiemployer Pension Plan Amendments Act of 1980, 29 U.S.C. § 1001a.

       12.     At all relevant times Servicon was and is signatory and bound to the Agreements

between the Mechanical Contractors Association of Metropolitan Washington, D.C. and

Steamfitters Local Union No. 602 (“Collective Bargaining Agreements”).

                                             JURISDICTION

       13.     This Court has jurisdiction of this action under Sections 502 and 515 of ERISA, 29

U.S.C. §§ 1132 and 1145, and supplemental jurisdiction for any state law claims under 28 U.S.C. §

1367(a). This is an action to collect amounts due to employee benefit plans, trusts, and a labor

union under the terms of the Collective Bargaining Agreements.

       14.     Venue is proper in this district pursuant to Section 502(e)(2) of ERISA, 29 U.S.C. §

1132(e), as the district in which Plaintiffs are located and administered and the district in which the

Defendant regularly conducts business.

       15.     This Court has personal jurisdiction over the Defendant pursuant to Section

502(e)(2) of ERISA, 29 U.S.C. § 1132(e)(2).




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                                                  COUNT I

                        (AMOUNTS OWED TO BENEFIT FUND PLAINTIFFS)

        16.     The Pension Fund, Medical Fund, Training Fund, Scholarship Fund, Retirement

Savings Fund and International Training Fund (collectively, the “Benefit Fund Plaintiffs”) hereby

restate and incorporate by reference the allegations set forth in paragraphs 1 through 15 as if fully

set forth in Count I.

        17.     Pursuant to its Collective Bargaining Agreements, Defendant agreed to pay to the

Benefit Fund Plaintiffs certain sums of money for each hour worked by Defendant’s employees

covered by the Collective Bargaining Agreements.

        18.     Defendant employed certain employees covered by the Collective Bargaining

Agreements, but failed to pay the amount when due to the Benefit Fund Plaintiffs for work

performed in the months of July 2019 through and including November 2019, as required by the

Collective Bargaining Agreements and the Benefit Fund Plaintiffs’ Restated Agreements and

Declarations of Trust.

        19.     The Collective Bargaining Agreements and the Benefit Fund Plaintiffs’ Restated

Agreements and Declarations of Trust provide that an employer who fails to pay the amounts

required when due shall be obligated to pay, in addition to the contributions owed, liquidated

damages plus interest from the date due through the date of payment.

        20.     The Collective Bargaining Agreements and the Benefit Fund Plaintiffs’ Restated

Agreements and Declarations of Trust also provide for reasonable attorneys’ fees and court costs.

        21.     The Benefit Fund Plaintiffs will also seek a judgment in this action against the

Defendant for all contributions, interest, liquidated damages and attorneys’ fees and costs that

become due, or are estimated to be due, subsequent to the filing of this action, during the pendency

of this action, and up to the date of judgment.

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                                                COUNT II

                 (WORKING ASSESSMENTS/DUES/OTHER PAYMENTS)

        22.     Plaintiff Steamfitters Local Union No. 602, the Communications Fund, and the

Industry Fund hereby restate and incorporate by reference the allegations set forth in paragraphs 1

through 21 as if fully set forth in Count II.

        23.     Defendant employed certain employees covered by the Collective Bargaining

Agreements who authorized working assessment/dues deduction.             The Defendant failed to

forward working assessments/dues on behalf of employees to the Steamfitters Local Union No.

602 for the months of July 2019 through and including November 2019, as required by the

Collective Bargaining Agreements.

        24.     Pursuant to its Collective Bargaining Agreements, Defendant agreed to pay to the

Communications Fund and Industry Fund certain sums of money for each hour worked by

Defendant’s employees covered by the Collective Bargaining Agreements.

        25.     Defendant employed certain employees covered by the Collective Bargaining

Agreements, but failed to pay the amounts when due to the Communications Fund and Industry

Fund for the months of July 2019 through and including November 2019, as required by the

Collective Bargaining Agreements.

        26.     Plaintiff Steamfitters Local Union No. 602, the Communications Fund, and the

Industry Fund will also seek a judgment in this action against the Defendant for all amounts that

become due, or are estimated to be due, subsequent to the filing of this action, during the pendency

of this action, and up to the date of judgment.




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         WHEREFORE, the Plaintiffs pray judgment in Counts I and II as follows:

         A.      That the Court finds the Defendant Diane Consulting and Services, LLC trading as

Servicon Facilities and Mechanical Service liable in the amount of contributions, interest,

liquidated damages, and other amounts owed under the Collective Bargaining Agreements and trust

agreements to the Plaintiffs as of the date of judgment.

         B.      For such contributions, interest, liquidated damages, reasonable attorneys’ fees,

costs, and other amounts that may accrue and/or are found to be due and owing to the Plaintiffs

after November 2019, subsequent to the filing of this Complaint, during the pendency of this action,

and up through the date of judgment.

         C.      For such further relief as the Court may deem appropriate.


                                                       Respectfully submitted,


Dated: January 14, 2020                        By:         /s/                               .
                                                       (Signed by Jacob Szewczyk with permission)
                                                       Andrew Kelser (Bar No. 19138)
                                                       O’DONOGHUE & O’DONOGHUE LLP
                                                       5301 Wisconsin Ave., N.W.
                                                       Eighth Floor
                                                       Washington, D.C. 20015
                                                       akelser@odonoghuelaw.com
                                                       Telephone No.: (202) 362-0041
                                                       Facsimile No.: (202) 362-2640

                                               By:        /s/                            .
                                                       Jacob N. Szewczyk (Bar No. 19916)
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